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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


                                                        Civ. A. No. 1:18-cv-01713
IN RE AKORN, INC. DATA INTEGRITY
SECURITIES LITIGATION                                   Hon. Matthew F. Kennelly




                           STIPULATION AND ORDER FOR THE
                             PRESERVATION OF EVIDENCE

         IT IS HEREBY STIPULATED AND AGREED, by and among the parties hereto, through

their undersigned counsel, that the Defendants herein shall take reasonable steps to preserve (i) all

Documents (as defined in Fed. R. Civ. P. 34(a)) in their custody or control that are relevant to any

of the allegations of the Complaint (Dkt. No. 1) in the above-captioned action and (ii) all

Documents produced by any party or third-party in connection with Akorn, Inc. v. Fresenius Kabi

AG, CA No. 2018-0300-JTL (Del. Ch.).

 DATED: July 19, 2018                                 Respectfully Submitted,

                                                      /s/ Andrew J. Entwistle
                                                      Andrew J. Entwistle
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DATED: July 19, 2018                            Respectfully Submitted,

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                                              Rai, Duane A. Portwood and Randall E.
                                              Pollard


IT IS SO ORDERED.


DATED: August 17, 2018
                                                _________________________________
                                                HON. MATTHEW F. KENNELLY
                                                UNITED STATES DISTRICT JUDGE




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